           Case MDL No. 3076 Document 101-2 Filed 04/28/23 Page 1 of 4




                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION


 IN RE: FTX CRYPTOCURRENCY                           MDL NO. 3076
 EXCHANGE COLLAPSE LITIGATION



                                     PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that on April 28, 2023, I caused the foregoing

NOTICE OF PRESENTATION OR WAIVER OF ORAL ARGUMENT to be electronically filed

with the Clerk of Court through the CM/ECF system, which will send notification of such filing

to all counsel of record who are registered as CM/ECF users, as denoted on the Electronic Mail

Notice List.

       I further certify that on April 28, 2023, I caused the foregoing NOTICE OF

PRESENTATION OR WAIVER OF ORAL ARGUMENT to be served via email or U.S. Mail on

the parties in the Service List below:

                                                Respectfully submitted,

                                                Date: April 28, 2023

                                                LATHAM & WATKINS LLP

                                                By: /s/ Andrew B. Clubok
                                                   Andrew B. Clubok
                                                   andrew.clubok@lw.com
                                                   D.C. Bar No. 446935
                                                   555 Eleventh Street, NW, Suite 1000
                                                   Washington, D.C. 20004-1304
                                                   Telephone: 202.637.2200
                                                   Facsimile: 202.637.2201

                                                Attorney for Defendants Thomas Brady,
                                                Gisele Bundchen, and Lawrence Gene David




                                              -1-
         Case MDL No. 3076 Document 101-2 Filed 04/28/23 Page 2 of 4




                                      SERVICE LIST

VIA EMAIL                                     VIA EMAIL

Adam Michael Schachter                        Nathan Marshall Bull
Gerald Edward Greenberg                       730 SALDANO AVE
Gelber Schachter & Greenberg PA               Coral Gables, FL 33143
One Southeast Third Avenue                    9179135973
Ste 2600                                      nbull@mwe.com
Miami, FL 33131-1715
305-728-0950                                  Sarah P. Hogarth
aschachter@gsgpa.com                          Jason D. Strabo
ggreenberg@gsgpa.com                          Ellie Hourizadeh
                                              McDermott Will & Emery LLP
Richard M. Simins                             500 North Capitol Street NW
Jeremy D. Mishkin                             Washington, DC 20001
Montgomery McCracken                          (202) 756-8352
1735 Market Street, 21st Floor                shogarth@mwe.com
Philadelphia, PA 19103                        jstrabo@mwe.com
(215) 772-1500                                ehourizadeh@mwe.com
rsimins@mmwr.com
jmishkin@mmwr.com                             Counsel for Defendant Stephen Curry,
                                                Garrison et al v. Bankman-Fried et al., No.
Counsel for Defendant Sam Bankman-Fried,        1:22-cv-23753-KMM (S.D. Fla.); Podalsky et
  Garrison et al v. Bankman-Fried et al., No.   al v. Bankman-Fried et al, No. 1:22-cv-23983-
  1:22-cv-23753-KMM (S.D. Fla.); Podalsky et    KMM (S.D. Fla.)
  al v. Bankman-Fried et al., No. 1:22-cv-
  23983-KMM (S.D. Fla.)

VIA U.S. MAIL                                 VIA EMAIL

4012 Sahara Ct,                               Roberto Martinez
Carrollton, TX 75010                          Stephanie Anne Casey
                                              Colson Hicks Eidson
Defendant Shaquille O’Neal,                   255 Alhambra Circle
  Garrison et al v. Bankman-Fried et al., No. Penthouse
  1:22-cv-23753-KMM (S.D. Fla.); Podalsky et Coral Gables, FL 33134-2351
  al v. Bankman-Fried et al, No. 1:22-cv- 305-476-7400
  23983-KMM (S.D. Fla.)                       bob@colson.com
                                              scasey@colson.com
                                              scasey@colson.com

                                              Counsel for Defendant Naomi Osaka,
                                                Garrison et al v. Bankman-Fried et al., No.
                                                1:22-cv-23753-KMM (S.D. Fla.); Podalsky et
                                                al v. Bankman-Fried et al., No. 1:22-cv-23983-
                                                KMM (S.D. Fla.)

                                          -2-
         Case MDL No. 3076 Document 101-2 Filed 04/28/23 Page 3 of 4




VIA EMAIL                                       VIA EMAIL

Glenn K. Vanzura                                Christopher Stephen Carver
Andrew J. Demko                                 Katherine Ann Johnson
Jason D. Linder                                 Akerman LLP
Joseph J. Vescera                               Three Brickell City Centre Suite 1100
Mayer Brown LLP                                 98 Southeast Seventh Street
350 S. Grand Avenue, 25th Floor                 Miami, FL 33131
Los Angeles, CA 90071                           christopher.carver@akerman.com
213-229-9500                                    Katie.johnson@akerman.com
GVanzura@mayerbrown.com
ademko@mayerbrown.com                           Counsel for Defendant Udonis Haslem,
JLinder@mayerbrown.com                            Garrison et al v. Bankman-Fried et al., No.
jvescera@mayerbrown.com                           1:22-cv-23753-KMM (S.D. Fla.); Podalsky et
                                                  al v. Bankman-Fried et al., No. 1:22-cv-23983-
Jonathan Samuel Klein                             KMM (S.D. Fla.)
Mayer Brown LLP
1999 K. St. NW
Washington, DC 20006
(202) 263-3327
Email: Jklein@mayerbrown.com

Counsel for Defendant Sam Trabucco,
  Garrison et al v. Bankman-Fried et al., No.
  1:22-cv-23753-KMM (S.D. Fla.); Podalsky et
  al v. Bankman-Fried et al, No. 1:22-cv-
  23983-KMM (S.D. Fla.)
VIA U.S. MAIL                                 VIA U.S. MAIL

c/o Andrew Goldstein                       1133 Bigelow Ave N
Cooley LLP                                 Seattle, WA 98109-3208
1299 Pennsylvania Avenue, NW Suite 700
Washington,          DC         20004-2400 Defendant Dan Friedberg,
agoldstein@cooley.com                         Garrison et al v. Bankman-Fried et al., No.
Telephone: 202 842 7800                       1:22-cv-23753-KMM (S.D. Fla.); Podalsky et
VIA U.S. MAIL                                 al v. Bankman-Fried et al, No. 1:22-cv-23983-
746 Jennifer Way                              KMM (S.D. Fla.)
Milpitas, CA 95035

Defendant Nishad Singh,
  Garrison et al v. Bankman-Fried et al., No.
  1:22-cv-23753-KMM (S.D. Fla.); Podalsky et
  al v. Bankman-Fried et al, No. 1:22-cv-
  23983-KMM (S.D. Fla.)




                                          -3-
         Case MDL No. 3076 Document 101-2 Filed 04/28/23 Page 4 of 4




VIA U.S. MAIL                                 VIA U.S. MAIL

327 Franklin Street                           304 Island Lane
Newton, MA 02458                              Egg Harbor Township, NJ 08234

Defendant Caroline Ellison,                   Defendant Zixiao Gary Wang,
  Garrison et al v. Bankman-Fried et al., No.   Garrison et al v. Bankman-Fried et al., No.
  1:22-cv-23753-KMM (S.D. Fla.); Podalsky et    1:22-cv-23753-KMM (S.D. Fla.); Podalsky et
  al v. Bankman-Fried et al, No. 1:22-cv-       al v. Bankman-Fried et al, No. 1:22-cv-23983-
  23983-KMM (S.D. Fla.)                         KMM (S.D. Fla.)




                                          -4-
